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                      APPLE INC.
                 15
                 16                                   UNITED STATES DISTRICT COURT
                 17                             SOUTHERN DISTRICT OF CALIFORNIA
                 18   APPLE INC.,                                CASE NO. 3:14-cv-02235-DMS-BLM
                 19                                              (lead case);
                                         Plaintiff,              CASE NO. 3:14-cv-1507-DMS-BLM
                 20                                              (consolidated)
                              v.
                 21                                              APPLE INC.’S NOTICE OF MOTION
                      WI-LAN, INC.,                              AND MOTION TO EXCLUDE CERTAIN
                 22                                              OPINIONS OF VIJAY MADISETTI,
                                         Defendant.              DAVID KENNEDY AND JEFFREY
                 23                                              PRINCE

                 24                                             Date: June 1, 2018
                                                                Time: 1:30 p.m.
                 25                                             Dept.: 13A
                      AND RELATED                               Judge: Hon. Dana M. Sabraw
                 26   COUNTERCLAIMS                             Magistrate Judge: Hon. Barbara L. Major

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DLA P IPER LLP (US)
     SAN DIEGO        WEST\281339128.1         NOTICE OF MOTION TO EXCLUDE CERTAIN TESTIMONY OF WI-LAN EXPERTS
                                                                                          3:14-CV-002235-DMS-BLM
          Case 3:14-cv-02235-DMS-BLM Document 334 Filed 05/01/18 PageID.17017 Page 2 of 3



                  1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                  2           PLEASE TAKE NOTICE that on June 1, 2018 at 1:30 p.m. in the Courtroom
                  3   of the Honorable Dana M. Sabraw of the above-entitled court, located at 333 W.
                  4   Broadway, San Diego, California 92101, Plaintiff Apple Inc. (“Apple”) will and
                  5   hereby does move to exclude certain testimony of Wi-LAN experts Vijay Madisetti,
                  6   Jeffrey Prince and David Kennedy that falls below the admissibility threshold set
                  7   by Federal Rule of Evidence 702 and Daubert.
                  8           This Motion is made pursuant to Civil Local Rule 7.1, and is based on this
                  9   Notice of Motion and Motion, the accompanying Memorandum of Points and
                 10   Authorities, supporting declaration and exhibits, all of which are served and filed
                 11   herewith, the complete records and files of this action, and any argument or
                 12   additional evidence that is permitted by this Court.
                 13
                 14   Dated: May 1, 2018
                                                             DLA PIPER LLP (US)
                 15
                 16                                          By /s/ Sean C. Cunningham
                                                               JOHN ALLCOCK
                 17                                            SEAN C. CUNNINGHAM
                                                               ERIN GIBSON
                 18                                            ROBERT BUERGI
                                                               ROBERT WILLIAMS
                 19                                            TIFFANY MILLER
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                                                                 MCCLOY LLP
                 22                                              Mark C. Scarsi
                                                                 Ashlee N. Lin
                 23                                              Christopher J. Gaspar
                 24                                              Attorneys for Plaintiff
                                                                 APPLE INC.
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DLA P IPER LLP (US)                                             -1-
     SAN DIEGO        WEST\281339128.1    NOTICE OF MOTION TO EXCLUDE CERTAIN TESTIMONY OF WI-LAN EXPERTS
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          Case 3:14-cv-02235-DMS-BLM Document 334 Filed 05/01/18 PageID.17018 Page 3 of 3



                  1                              CERTIFICATE OF SERVICE
                  2           I hereby certify that on May 1, 2018, I electronically transmitted the attached
                  3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal
                  4   of a Notice of Electronic Filing to the CM/ECF registrants.
                  5
                                                                       /s/ Sean C. Cunningham
                  6                                                    Sean C. Cunningham
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DLA P IPER LLP (US)                                              -2-
     SAN DIEGO        WEST\281339128.1    NOTICE OF MOTION TO EXCLUDE CERTAIN TESTIMONY OF WI-LAN EXPERTS
                                                                                     3:14-CV-002235-DMS-BLM
